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                   UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION


The States of Georgia, Alabama, Idaho,
Kansas, South Carolina, Utah, West
Virginia; Brian P. Kemp in his official
capacity as Governor of the State of
Georgia; Kay Ivey in her official capacity
as Governor of the State of Alabama;
Brad Little in his official capacity as
Governor of the State of Idaho; Henry
McMaster in his official capacity as
Governor of the State of South Carolina;
the Board of Regents of the University
System of Georgia; Gary W. Black in his
official capacity as Commissioner of the
Georgia Department of Agriculture;
Alabama Department of Agriculture and
Industries; Alabama Department of
Public Health; Alabama Department of
Rehabilitation Services; Idaho State             Civil Action No. _____________________
Board of Education,

                            Plaintiffs,

v.

Joseph R. Biden in his official capacity
as President of the United States; Safer
Federal Workforce Task Force; United
States Office of Personnel Management;
Kiran Ahuja in her official capacity as
director of the Office of Personnel
Management and as co-chair of the Safer
Federal Workforce Task Force; Office of
Management and Budget; Shalanda
Young in her official capacity as Acting
Director of the Office of Management
and Budget and as a member of the
Safer Federal Workforce Task Force;
General Services Administration; Robin
Carnahan in her official capacity as



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Administrator of the General Services
Administration and as co-chair of the
Safer Federal Workforce Task Force;
Jeffrey Zients in his official capacity as
co-chair of the Safer Federal Workforce
Task Force and COVID-19 Response
Coordinator; L. Eric Patterson in his
official capacity as Director of the
Federal Protective Service; James M.
Murray in his capacity as Director of the
United       States     Secret      Service;
Administrator Deanne Criswell in her
official capacity as Administrator of
Federal       Emergency       Management
Agency; Rochelle Walensky in her
official capacity as Director of the Center
for Disease Control; United States
Department of Defense; Lloyd Austin in
his official capacity as the United States
Secretary of Defense; United States
Department of Health and Human
Services; Xavier Becerra in his official
capacity as the United States Secretary
of Health and Human Services; National
Institutes of Health; Francis S. Collins
in his official capacity as Director of the
National Institutes of Health; United
States Department of Veterans Affairs;
Denis Mcdonough in his official capacity
as United States Secretary of Veterans
Affairs; National Science Foundation;
Sethuraman Panchanathan in his
official capacity as Director of the
National Science Foundation; United
States Department of Commerce; Gina
Raimondo in her official capacity as
United States Secretary of Commerce;
National      Aeronautics     and     Space
Administration; Bill Nelson in his
official capacity as Administrator of the
National      Aeronautics     and     Space
Administration;         United       States
Department of Transportation; Richard
Chávez, in his official capacity as the



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Director   of   the    Department  of
Transportation; the United States
Department of Energy; and Jennifer
Granholm in her official capacity as
United States Secretary of Energy,

                      Defendants.


       COMPLAINT FOR DECLARATORY AND PRELIMINARY AND
                PERMANENT INJUNCTIVE RELIEF


      1.     On September 9, 2021, President Biden announced that his patience

was “wearing thin” with unvaccinated Americans,1 and he issued an executive order

that required federal departments and agencies to mandate that all of their federal

contractors fully vaccinate their workforce. Executive Order 14042 is astonishing—

not only for its tremendous breadth and unworkably short deadline, but also

because so little care has been given to how it will work in the real world. The

mandate, as the federal government has conceived, and thus far implemented,

applies not only to contractor employees working on federal contracts, but also any

employee that may have contact with someone working on a federal contract (even

if that contact is nothing more than walking past them outside, in a parking lot).

There are no exceptions for employees that work alone, outside, or even exclusively

remotely. And the federal government is insisting that every federal contractor fully

comply by December 8, 2021, which means employees have mere days to begin their

two-shot regimen. The contractual language in question even, remarkably, commits

1Office of Public Engagement, Transcript, Remarks by President Biden on Fighting
the COVID-19 Pandemic (Sept. 9, 2021), https://www.whitehouse.gov/briefing-
room/speeches-remarks/2021/09/09/remarks-by-president-biden-on-fighting-the-
covid-19-pandemic-3/.

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federal contractors to comply with any amendments to the administrative guidance

that may be issued in the future.

      2.      For state agencies that work on federal contracts, this situation is

untenable. This mandate puts billions of contracting dollars in peril, including huge

portions of some state agencies’ budgets. Some agencies have received notice of their

need to comply with this mandate (or lose all their funding) within the past few

days, leaving compliance all but impossible. At its core, the mandate forces

contractors to make an impossible choice: either (1) take enforcement action that

may include termination of all unvaccinated employees, or (2) face losing billions of

dollars in federal funding. And because the administration has already amended

the guidance multiple times, there is no telling what other onerous obligations may

put state agencies in breach at a moment’s notice.

      3.      The States of Georgia, Alabama, Idaho, Kansas, South Carolina, Utah,

West Virginia, Georgia Governor Brian Kemp, Alabama Governor Kay Ivey, Idaho

Governor Brad Little, South Carolina Governor Henry McMaster, the Board of

Regents of the University System of Georgia, Commissioner Gary W. Black of the

Georgia Department of Agriculture, the Alabama Department of Agriculture and

Industries, the Alabama Department of Public Health, the Alabama Department of

Rehabilitation Services, and the Idaho State Board of Education bring this action to

stop this unprecedented and unconstitutional use of power by the federal

government, and to end the nationwide confusion and disruption that the mandate

has caused.




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                                     PARTIES

      4.      Plaintiff State of Georgia is a sovereign state with many agencies that

are federal contractors.

      5.      Plaintiff State of Alabama is a sovereign state with many agencies that

are federal contractors.

      6.      Plaintiff State of Idaho is a sovereign state possessing all of the

powers reserved to it under the 10th Amendment to the United States Constitution

with many agencies that contract directly and administer contracts with the federal

government.

      7.      Plaintiff State of Kansas is a sovereign state of the United States of

America. Several of its agencies are federal contractors, and some of these agencies,

including multiple state universities, have already been presented with contract

amendments incorporating the Contractor Mandate.2 The State of Kansas employs

“covered contractor employees” at “covered contractor workplaces” as defined by the

Task Force Guidance.

      8.      Plaintiff State of South Carolina is a sovereign state of the United

States of America. South Carolina citizens and entities, who are federal contractors

and subcontractors, have been and will be forced to comply with the unlawful

COVID-19 vaccine mandate. Because of that unlawful action as to the State’s


2As used throughout, Contractor Mandate includes, individually and collectively,
Executive Order 14042, the Safer Federal Workforce Task Force COVID-19
Workplace Safety: Guidance for Federal Contractors and Subcontractors, the FAR
Council’s Class Deviation Clause 252.223-7999, and the Office of Management and
Budget’s Determination of the Promotion of Economy and Efficiency in Federal
Contracting Pursuant to Executive Order No. 14042.

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citizens and entities, Attorney General Alan Wilson brings this action on behalf of

the State pursuant to his parens patriae, constitutional, and common law authority.

      9.     Plaintiff State of Utah is a sovereign State and has the authority and

responsibility to protect its sovereign interests, public fisc, and the health, safety,

and welfare of its citizens. Utah has many state entities that are federal contractors

and thus Utah employs “covered contractor employees” and maintains “covered

contractor workplaces” as defined by the Contractor Mandate. These contracts are

worth millions of dollars, if not more. Utah expects to continue pursuing

government contracts in the future. Utah also has current contracts subject to

renewal or the exercise of options. The federal government has presented Utah with

contract modifications that incorporate the Contractor Mandate. Utah will face

irreparable harm if forced to comply.

      10.    Plaintiff State of West Virginia is a sovereign State and has the

authority and responsibility to protect its sovereign interests, public fisc, and the

health, safety, and welfare of its citizens. West Virginia has state entities that are

signatories to “contract-like instruments” that may render affected employees and

workplaces “covered contractor employees” and “covered contractor workplaces” as

defined by the Contractor Mandate. These instruments are worth significant sums.

West Virginia expects to continue pursuing government contracts in the future.

West Virginia also has current agreements subject to renewal or the exercise of

options. West Virginia will face irreparable harm if it is forced to comply with

requirements imposed by the Contractor Mandate.




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      11.    Plaintiff Brian P. Kemp is named in his official capacity as Governor of

the State of Georgia and appears on behalf of the State of Georgia.

      12.    Plaintiff Kay Ivey is named in her official capacity as Governor of the

State of Alabama and appears on behalf of the State of Alabama.

      13.    Plaintiff Brad Little, in his official capacity as Governor of the State of

Idaho, has an interest in preventing the loss of federal funding that will result as a

direct consequence of the Contractor Mandate. Additionally, the Governor has an

interest in ensuring that all State laws, including the Idaho Constitution and Idaho

Statutes, are executed, rather than subverted through federal overreach.

      14.    Plaintiff Henry McMaster is named in his official capacity as Governor

of the State of South Carolina and appears on behalf of the State of South Carolina.

      15.    Plaintiff Board of Regents of the University System of Georgia was

established in 1931 as a part of a reorganization of Georgia’s state government. The

Georgia Constitution grants to the Board of Regents the exclusive right to govern,

control, and manage the University System of Georgia, an educational system

comprised of twenty-six institutions of higher learning including universities with

extensive research institutions such as Augusta University, the Georgia Institute of

Technology, Georgia State University, and the University of Georgia.

      16.    Plaintiff Gary W. Black is named in his official capacity as

Commissioner of the Georgia Department of Agriculture.

      17.    Plaintiff Alabama Department of Agriculture and Industries is a state

agency responsible for serving farmers and consumers of agricultural projects.




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      18.    Plaintiff Alabama Department of Rehabilitation Services is the state

agency primarily responsible for serving Alabamians with disabilities.

      19.    Plaintiff Alabama Department of Public Health is the state agency

primarily responsible for serving Alabamians’ public health needs.

      20.    Plaintiff Idaho State Board of Education appears in its capacity as

Regents of the University of Idaho, Board of Trustees of Boise State University,

Board of Trustees of Idaho State University, and Board of Trustees of Lewis-Clark

State College.

      21.    Defendant Joseph R. Biden is the 46th President of the United States

who, on September 9, 2021, signed Executive Order 14042, titled Executive Order on

Ensuring Adequate COVID Safety Protocols for Federal Contractors (“EO 14042”).

      22.    Defendant Safer Federal Workforce Task Force (the “Task Force”) was

established pursuant to President Biden’s Executive Order 13991 (86 Fed. Reg.

7045 (Jan. 25, 2021)). Three co-chairs oversee the Task Force, including: (1) the

Director of the Office of Personnel Management (“OPM”); (2) the Administrator of

the General Services Administration (“GSA”); and (3) the COVID–19 Response

Coordinator. The Director of OPM is also a member of the Task Force.

      23.    Defendant Office of Personnel Management Director, Kiran Ahuja

(“Director Ahuja”), is a co-chair and member of the Task Force and represents the

federal agency responsible for managing human resources for civil service of the

federal government.




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      24.    Defendant Administrator of General Services, Robin Carnahan (the

“GSA Administrator”), is a co-chair and member of the Task Force and represents

the federal agency responsible for managing and supporting the basic functioning of

federal agencies.

      25.    Defendant COVID–19 Response Coordinator, Jeffrey Zients (the

“COVID-19 Response Coordinator”), is a co-chair and member of the Task Force.

      26.    Defendant Office of Management and Budget Director, Shalanda

Young (the “OMB Director”), is a member of the Task Force and represents the

federal agency with delegated authority, by President Biden, to publish

determinations relevant to EO 14042 and the Task Force Guidance to the Federal

Register.

      27.    Defendant Director of the Federal Protective Service, L. Eric Patterson

(the “FPS Director”), is a member of the Task Force.

      28.    Defendant Director of the United States Secret Service, James M.

Murray (the “Secret Service Director”), is a member of the Task Force.

      29.    Defendant Director of the Federal Emergency Management Agency,

Deanne Criswell (the “FEMA Director”), is a member of the Task Force.

      30.    Defendant Director of the Center for Disease Control, Rochelle

Walensky (the “CDC Director”), is a member of the Task Force.

      31.    Defendant Office of Management and Budget (“OMB”) is an agency of

the United States government.




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      32.    Defendant Office of Personnel Management (“OPM”) is an agency of

the United States government.

      33.    Defendant General Services Administration (“GSA”) is an agency of

the United States government, located within HHS.

      34.    Defendant United States Department of Defense (“DOD”) is an agency

of the United States government.

      35.    Defendant United States Secretary of Defense, Lloyd Austin, is named

in his official capacity as the United States Secretary of Defense.

      36.    Defendant United States Department of Health and Human Services

(“DHHS”) is an agency of the United States government.

      37.    Defendant United States Secretary of Health and Human Services,

Xavier Becerra, is named in his official capacity as the United States Secretary of

Health and Human Services.

      38.    Defendant National Institutes of Health (“NIH”) is an agency of the

United States government, located within DHHS.

      39.    Defendant NIH Director, Francis S. Collins, is named in his official

capacity as the Director of the NIH.

      40.    Defendant United States Department of Veterans Affairs (“DVA”) is an

agency of the United States government.

      41.    Defendant United States Secretary of Veterans Affairs, Denis

McDonough, is named in his official capacity as the United States Secretary of

Veterans Affairs.




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      42.    Defendant National Science Foundation (“NSF”) is an agency of the

United States government.

      43.    Defendant Director of the NSF, Sethuraman Panchanathan, is named

in his official capacity as the Director of the NSF.

      44.    Defendant United States Department of Commerce (“DOC”) is an

agency of the United States government.

      45.    Defendant United States Secretary of Commerce, Gina Raimondo, is

named in her official capacity as the United States Secretary of Commerce.

      46.    Defendant National Aeronautics and Space Administration (“NASA”)

is an agency of the United States government.

      47.    Defendant Administrator of the NASA, Bill Nelson, is named in his

official capacity as the Director of the NASA.

      48.    Defendant United States Department of Transportation (“DOT”) is an

agency of the United States government.

      49.    Defendant Director of the DOT, Richard Chávez, is named in his

official capacity as the Director of the DOT.

      50.    Defendant United States Department of Energy (“DOE”) is an agency

of the United States government.

      51.    Defendant United States Secretary of Energy, Jennifer Granholm, is

named in her official capacity as the United States Secretary of Energy.

                STATEMENT OF JURISDICTION AND VENUE




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        52.   This Court has exclusive jurisdiction over this case under 28 U.S.C. §§

1331 and 1346 because Plaintiffs’ claims arise under the Administrative Procedure

Act, 5 U.S.C. §§ 702–703, and the United States Constitution, U.S. Const. art. III,

§ 2.

        53.   This Court is authorized to grant the requested declaratory and

injunctive relief under 5 U.S.C. §§ 702 and 706, and 28 U.S.C. §§ 2201–02.

        54.   Venue is proper within this District pursuant to 28 U.S.C. § 1391(e)

because (1) certain Plaintiffs reside in Georgia and no real property is involved, and

(2) “a substantial part of the events or omissions giving rise to the claim occurred”

in this District.

        55.   Venue further lies in this District pursuant to 28 U.S.C. § 1391(e)(1)

because the State of Georgia is a resident of every judicial district in its sovereign

territory including this judicial District (and Division). See California v. Azar, 911

F.3d 558, 570 (9th Cir. 2018).

                            FACTUAL ALLEGATIONS

Executive Order 14042 and the Safer Federal Workforce Task Force
Guidelines

        56.   On September 9, 2021, President Biden signed Executive Order 14042,

titled Executive Order on Ensuring Adequate COVID Safety Protocols for Federal

Contractors (“EO 14042”), a true and accurate copy of which is attached as

Exhibit A.

        57.   EO 14042 purports to “promote[] economy and efficiency in Federal

procurement by ensuring that the parties that contract with the Federal



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Government provide adequate COVID-19 safeguards to their workers performing on

or in connection with a Federal Government contract or contract-like instrument . . .

.” Ex. A at 1.

       58.       EO 14042 claims that “ensuring that Federal contractors and

subcontractors are adequately protected from COVID-19 will bolster economy and

efficiency in Federal procurement.” Ex. A at 1.

       59.       EO 14042 directs executive agencies subject to the Federal Property

and Administrative Services Act (the “Procurement Act”) to include in all federal

contracts    and     “contract-like   instruments”   a   clause   that   contractors   and

subcontractors will comply with all future guidance issued by the Task Force.

       60.       EO 14042 requires that the Task Force issue specific COVID safety

protocols by September 24, 2021.

       61.       On September 24, 2021 the Task Force released its COVID-19

Workplace Safety: Guidance for Federal Contractors and Subcontractors (the “Task

Force Guidance”) to federal agencies, imposing a vaccine mandate on federal

contractors and subcontractors, a true and accurate copy of which is attached as

Exhibit B.

       62.       EO 14042 further required that the Director of OMB publish a

determination in the Federal Register as to “whether such Guidance will promote

economy and efficiency in Federal contracting if adhered to by Government

contractors and subcontractors.” Ex. A at 2.




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      63.   On September 28, 2021, Director Young published the OMB’s

Determination of the Promotion of Economy and Efficiency in Federal Contracting

Pursuant to Executive Order No. 14042 (the “OMB Determination”) stating in

conclusory fashion “I have determined that compliance by Federal contractors and

subcontractors with the COVID-19-workplace safety protocols detailed in that

guidance will improve economy and efficiency by reducing absenteeism and

decreasing labor costs for contractors and subcontractors working on or in

connection with a Federal Government contract.” 86 Fed. Reg. 53,691 (Sept. 28,

2021), a true and correct copy of which is attached as Exhibit C.

      64.   The OMB Determination contained no research or data in support of

its claims. Moreover, the OMB Determination underwent no notice-and-comment

period.

      65.   Through EO 14042 and without legislative intervention, the President

purported to give the Task Force, the OMB Director, and various federal agencies

broad authority to impose vaccine mandates on federal contractors.

      66.   While EO 14042 did not specifically call for a vaccine mandate, it did

purport to delegate rulemaking authority to the Task Force, OMB, and the Federal

Acquisition and Regulatory Council (the “FAR Council”).

      67.   On September 30, 2021, the FAR Council issued Class Deviation

Clause 252.223-7999 (the “FAR Deviation Clause”) with accompanying guidance, a

true and correct copy of which is attached as Exhibit D.




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         68.   The FAR Deviation Clause requires federal contractors to follow the

Task Force Guidance and any future amendments to the Guidance. Ex. D.

         69.   EO 14042, the Task Force Guidance, the FAR Deviation Clause, and

the OMB Determination are hereinafter collectively referred to as the “Contractor

Mandate.”

         70.   Ultimately, the Task Force Guidance was never published to the

Federal Register for the purpose of receiving public comment.

         71.   Pursuant to the Task Force Guidance, “[p]eople are considered fully

vaccinated for COVID-19 two weeks after they have received the second dose in a

two-dose series, or two weeks after they have received a single-dose vaccine.” Ex. B

at 4.

         72.   The Guidance further establishes that “covered contractor employees”

are to be “fully vaccinated” by December 8, 2021—meaning said employees must

obtain the final dose of their vaccine of choice no later than November 24, 2021.

         73.   Accordingly, any covered contractor employee inclined to take the

Moderna vaccine would have had to receive their first dose by October 27, 2021 in

order to comply with the December 8, 2021 deadline.3

         74.   With the deadline for a Moderna vaccine having passed, covered

contractor employees must obtain a Pfizer vaccine by November 3, 20214 or a

Johnson and Johnson vaccine by November 24, 20215.



3  Center for Disease Control, Different COVID-19 Vaccines, (Oct. 20, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vaccines.html.
4 Id.



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           75.   Pursuant to the Task Force Guidance, “covered contractor employees”

refers to “any full-time or part-time employee of a covered contractor working on or

in connection with a covered contract or working at a covered contractor workplace.

This includes employees of covered contractors who are not themselves working on or

in connection with a covered contract.” Ex. B at 3–4 (emphasis added).

           76.   For the same reason, the Guidance also specifies that subcontractors

working in a covered workplace must also be fully vaccinated. Ex. B. at 1.

           77.   Pursuant to the Task Force Guidance, a contractor or subcontractor

workplace location “means a location where covered contract employees work,

including a covered contractor workplace or Federal workplace.” Ex. B at 3.

           78.   Pursuant to the Task Force Guidance, “unless a covered contractor can

affirmatively determine that none of its employees on another floor or in separate

areas of the building will come into contact with a covered contractor employee

during the period of performance,” employees in other areas of the building site or

facility are also a part of the covered contractor workplace.

           79.   Accordingly, the Contractor Mandate mandates vaccination for those

who work both directly and indirectly with federal contracts.

           80.   For example, pursuant to the Task Force Guidance, if a covered

contractor employee is working on a contract for the Department of Defense in a

remote office facility and that person merely shares a parking garage with non-

contracted employees once a week, those non-contracted employees are subject to

the Contractor Mandate.

5   Id.

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      81.   In another example, pursuant to the Task Force Guidance, if a covered

contractor employee is working on a contract for NASA in a remote office facility

and that person merely shares an elevator with non-contracted employees every

other Friday, those non-contracted employees are subject to the Contractor

Mandate.

      82.   The Task Force Guidance imposed a deadline of October 15, 2021 for

federal agencies to include a vaccination mandate clause in new contracts.

      83.   EO 14042, in general terms, and the Task Force Guidance, in specific

terms, further required that the Federal Acquisition Regulatory Council (“FAR

Council”) “conduct a rulemaking to amend the [Federal Acquisition Regulation

(“FAR”)] to include the [Contractor Mandate].” Ex. B at 12.

      84.   Pursuant to the Task Force Guidance, by October 8, 2021 and prior to

any rulemaking, the FAR Council was required to develop a recommended contract

clause to impose the Contractor Mandate for federal agencies to include in their

subsequent contracts. Ex. B at 12.

      85.   The Task Force Guidance instructed the FAR Council to “recommend

that agencies exercise their authority to deviate from the FAR” by using a

vaccination mandate clause in contracts prior to the FAR Council actually

amending the FAR. Ex. B at 12.

Development and Implementation of the FAR Deviation Clause

      86.   Before the FAR Deviation Clause was even published on September

30, 2021, the Defense Acquisition Regulations System and the Department of




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Defense published their intent to comply with EO 14042 via a Notice to the Federal

Register on September 17, 2021 (the “DOD Notice”). A true and correct copy of the

DOD Notice is attached as Exhibit E.

      87.    In response, there were seventeen letter comments from members of

the public, raising hundreds of key concerns that have yet to be addressed by OMB

or the Task Force.

      88.    A few of the DOD Notice comments included concerns such as:

      a.     “Are contractors or the government [sic] be liable for employee

disability or damage claims (side effects, etc.)?”6

      b.     “How will DOD monitor and measure any productivity disruptions?”7

      c.     “Are contractors expected to violate or undermine collective bargaining

agreements as they comply with these requirements?”8

      d.     “Implementing a flow down vaccine mandate and/or testing will likely

cause our subcontractors to experience significant employee attrition and financial

hardship, potentially leaving them unable to fulfill their role in the distribution

network.”9


6
  Aerospace Industries Association (AIA), Comment Letter on DOD Implementation Planning
for Executive Order 14042 (Sept. 23, 2021),
https://www.acq.osd.mil/dpap/dars/docs/early_engagement_opportunity/executive_order_14042/
AIA%20Comments%20-%20EO%2040142%20DARS%20EEO.9-23-21.pdf.
7
  Id.
8
  Id.
9
  AmerisourceBergen, Comment Letter on DOD Implementation Planning for Executive Order
14042 (Sept. 23, 2021),
https://www.acq.osd.mil/dpap/dars/docs/early_engagement_opportunity/executive_order_14042/
Amerisource%20Bergen%20Comments%20to%20DOD%20Early%20Engagement%20Opportu
nity%20Ensuring%20Adequate%20COVID%20Safety%20Protocols%20for%20Federal%20Con
tractors%20EO%2014042%20final.pdf.


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      89.    The DOD Notice comments were never considered prior to issuing the

Task Force Guidance. Indeed, the DOD ultimately published the DOD FAR

Deviation Memo just one day after the FAR Deviation Clause, with no alterations.

      90.    Upon information and belief, even some federal agencies were unable

to implement the Task Force Guidance due to the quick turnaround time of just 21

days from the date the Guidance was issued to the October 15, 2021 deadline.

Many Employees Are Likely to Quit Rather Than Submit to Mandatory
Vaccination

      91.    From an employer’s perspective, 9 in 10 employers fear significant

reductions in their workforce if they had to implement vaccine mandates.10

      92.    In a recent survey, approximately 70% of unvaccinated workers said

they would leave their job before complying with an employer-issued vaccine

mandate.11

      93.    “Just under one in five U.S. adults, 18%, can be described as vaccine-

resistant. These Americans say they would not agree to be vaccinated if a COVID-

19 vaccine were available to them right now at no cost and that they are unlikely to




10 Karl Evers-Hillstrom, 9 in 10 Employers Say They Fear They’ll Lose Unvaccinated
Workers      Over     Mandate:     Survey,    The      Hill   (Oct.    18,     2021),
https://thehill.com/business-a-lobbying/business-a-lobbying/577201-9-in-10-
employers-say-they-will-lose-unvaccinated.
11 Liz Hamel et al., Kaiser Family Found., KFF COVID-19 Vaccine Monitor: October

2021(Oct. 28, 2021), https://www.kff.org/coronavirus-covid-19/poll-finding/kff-covid-
19-vaccine-monitor-october-2021/.

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change their mind about it. The percentage holding these views has been stable in

recent months.”12

The Georgia Board of Regents and University System of Georgia

       94.   The Board of Regents (the “Board”) of the University System of

Georgia (the “University System”) is composed of 19 members, five of whom are

appointed from the state-at-large, and one from each of the state’s 14 congressional

districts.

       95.   The Board oversees the 26 higher education institutions that comprise

the University System including four research universities, four comprehensive

universities, nine state universities and nine state colleges. It also includes the

Georgia Public Library Service, which encompasses approximately 389 facilities

within the 61 library systems throughout the State of Georgia. The University

System also includes the Georgia Archives which identifies, collects, manages,

preserves and provides access to records and information about Georgia.

       96.   Every employee of the 26 higher education institutions within the

University System is an employee of the Board.

       97.   The University System has an annual budget of more than $8.1 billion

for fiscal year 2021.

       98.   The University System’s economic impact on the state was $18.5

billion in fiscal year 2019, according to the most recent study conducted by the Selig

Center for Economic Growth.

12Jeffrey M. Jones, About One in Five Americans Remain Vaccine Resistant, Gallup
(Aug. 6, 2021), https://news.gallup.com/poll/353081/one-five-americans-remain-
vaccine-resistant.aspx (last visited Oct. 26, 2021).

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       99.     Of the 157,770 jobs noted in a Selig Center for Economic Growth

report, 33% are on the campuses while 67% are off campuses.

       100.    For every person employed at the University System or a member

institution, two people have jobs in the local community that support the presence

of the institution.

The Board and University System’s Response to COVID-19

       101.    The University System has provided students with access to COVID-19

vaccination sites on 15 campuses statewide.

       102.    Students can schedule their first or second dose at the University

System campus closest to them, regardless of whether they are enrolled at that

institution.

       103.    Since the beginning of the pandemic, the University System has

worked closely with the Georgia Department of Public Health and the Governor’s

Office and Task Force to make sure their students keep learning and stay healthy.

       104.    While the University System strongly encourages that all faculty, staff,

students and visitors get vaccinated, it has not mandated vaccination.

       105.    The University System has stated publicly that “getting vaccinated is

an individual decision and not required to be a part of the USG campuses.”13

Impact of the Contractor Mandate on the University System and Other
Georgia State Agencies

       106.    Universities and research institutions within the University System

maintain hundreds of contracts with various federal agencies.

13 USG Vaccination Locator, U. Sys. Ga., https://www.usg.edu/vaccination/ (last
visited Oct. 26, 2021).

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      107.   The University System employees who work on these federal agency

contracts work throughout the University System campuses and in remote

locations.

      108.   Relevant to the University System, a “covered contractor employee”

goes beyond the individuals specifically assigned to a contract. Instead, “covered

contractor employees” include “any full-time or part-time employee of a covered

contractor working on or in connection with a covered contract or working at a

covered contractor workplace.” Ex. B at 3–4 (emphasis added).

      109.   Moreover, “covered contractor employees,” specifically include other

employees that come into minimal contact directly with contractor employees

“unless a covered contractor can affirmatively determine that none of its employees

on another floor or in separate areas of the building will come into contact with a

covered contractor employee during the period of performance of a covered

contract.” Ex. B at 10.

      110.   The “covered contractor workplace” broadly includes “a location

controlled by a covered contractor at which any employee of a covered contractor

working on or in connection with a covered contract is likely to be present during the

period of performance for a covered contract.” Ex. B at 4 (emphasis added).

      111.   While a “covered contractor workplace” does not include a covered

contractor employee’s residence, covered contractors working exclusively from their

residence are required to be vaccinated. Ex. B at 11, Q11.




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        112.   Ultimately, the Contractor Mandate extends to all employees that

share “common areas such as lobbies, security clearance areas, elevators, stairwells,

meeting rooms, kitchens, dining areas, and parking garages.” Ex. B at 10.

        113.   Augusta University has a portfolio of at least 45 federal government

agreements and contracts, many concerning the university’s healthcare research for

the Department of Veterans Affairs and Department of Health and Human

Services. Augusta University’s health and research arm—Augusta University

Health—is Georgia’s only public academic health center, where world-class

clinicians daily perform lifesaving research and development work under federally

funded agreements and contracts.

        114.   Many, if not all, of the federal agencies associated Augusta

University’s contracts have already issued memorandums requiring compliance

with the Contractor Mandate.

        115.   Over 200 employees of Augusta University work on the approximately

45 government contracts. University employees who are not themselves working on

or in connection with these contracts must also abide by the Contractor Mandate if

they share elevators, lobbies, and even parking garages with the employees who do

work on government contracts.

        116.   In practice, if Augusta University cannot “affirmatively determine”

that employees working on federal contracts will be completely separated from the

rest of the university, every employee must be fully vaccinated by December 8,

2021.




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      117.   The total budget for federal contracts at Augusta University is $17.1

million for fiscal year 2021.

      118.   In the event Augusta University cannot comply with the Contractor

Mandate—i.e., if they cannot obtain 100% on-campus employee vaccination—their

$17.1 million budget for federal contracts is in jeopardy.

      119.   Similarly, Georgia Institute of Technology (Georgia Tech) is one of the

many University System institutions that will suffer significant harm as a result of

the Contractor Mandate.

      120.   Since the 1940s, Georgia Tech has performed research under federal

contracts. Federal funding has been crucial to the development of its applied and

fundamental research programs, which have been pivotal to addressing the United

States’ security and other national priorities.

      121.   Georgia Tech and its research entities maintain multiple contracts

with the Department of Defense, the National Science Foundation, the Department

of Health and Human Services, the Department of Energy, NASA, the Department

of Commerce, the Department of Transportation, the Center for Disease Control,

the General Services Administration, and others, all of which are impacted by the

Contractor Mandate. Many, if not all, of these federal agencies have already issued

memorandums to Georgia Tech requiring compliance with the Contractor Mandate.

      122.   Georgia Tech relies on federal resources and personnel to help define

and direct its research activities.




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      123.   Indeed, for fiscal year 2021, Georgia Tech received $663,868,899.00 in

annual revenue from federal contracts. This accounts for 33% of Georgia Tech’s

annual revenue for fiscal year 2021.

      124.   Georgia Tech maintains approximately 1,781 active covered federal

contracts with approximately 4,079 employees who work on those contracts. This

accounts for almost 20% of all Georgia Tech employees. Another approximately

2,374 employees work in connection with federal contracts and a total of

approximately 8,949 employees work in “covered contractor workplaces” as defined

by the Task Force Guidance—including some students.

      125.   Accordingly, based upon the plain language of the EO 14042 and the

Task Force Guidance, nearly 32% of all Georgia Tech employees are directly

implicated by the Contractor Mandate. Moreover, if Georgia Tech is unable to

“affirmatively determine” that its employees working on government contracts will

share no common areas with its remaining employees, nearly all of Georgia Tech’s

on-campus employees are subject to the Contractor Mandate.

      126.   The University of Georgia (“UGA”) has approximately 850 federal

contracts, subcontracts, and cooperative agreements with federal agencies such as

the CDC, NSF, NIH, the FBI, and the Civilian Agency Administration Council.

      127.   Work performed under these contracts includes the development of a

new, more advanced influenza vaccine designed to protect against multiple strains

of influenza virus in a single dose; the study of influenza virus emergence and

infection in humans and animals while also making preparations to combat future




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outbreaks or pandemics; and sample collection from a variety of avian and

mammalian species internationally for the identification and characterization of

emerging influenza viruses and to develop predictive models describing the

epidemiology of influenza in wild avian species.

      128.   In fiscal year 2021, UGA received at least $56 million from federal

agency contracts.

      129.   Many, if not all, of the federal agencies with which UGA contracts have

already issued memorandums to UGA in connection with contracts between such

federal agencies and UGA in its role as either a prime or sub-contractor, requiring

UGA to accept the FAR Deviation Clause, or a variant of it, and thus comply with

the Contractor Mandate.

      130.   If UGA is unable to “affirmatively determine” that its contractor

employees will share no common areas with its remaining employees, nearly all of

UGA’s on-campus employees are subject to the Contractor Mandate.

      131.   As a direct result of the Contractor Mandate, the impacted University

System institutions face loss of funding, increased costs to ensure compliance, and

potential employee shortages from resignations, terminations, or unspecified leave.

      132.   On information and belief, other University System universities will be

similarly impacted by the Contractor Mandate.

      133.   Plaintiff, Gary W. Black, in his official capacity as Commissioner of the

Georgia Department of Agriculture, oversees personnel on one or more campuses of

the University of Georgia who will be directly impacted by the Contractor Mandate




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and may have other Department personnel and operations impacted by the

mandate.

      134.   Moreover, within the last few days, other Georgia agencies have been

informed by federal agencies that they must also sign new contracts containing the

Contractor Mandate.

Impact of the Contractor Mandate on the State of Alabama and Its
Agencies

      135.   The Contractor Mandate will harm the State of Alabama’s sovereign

and proprietary interests.

      136.   On May 24, 2021, Alabama enacted Senate Bill 267 (now Alabama Act

2021-493). The Act prohibits Alabama state entities, their officers, and their agents

from “requir[ing] the publication or sharing of immunization records or similar

health information for an individual.” Ala. Act. 2021-493 § 1(a).

      137.   To comply with the federal government’s Contractor Mandate, state

entities, their officers, and their agents would need to “require the publication or

sharing of immunization records or similar health information for an individual” by

certifying to the federal government that employees have received the COVID-19

vaccine. Thus, to comply with the Contractor Mandate, state entities, their officers,

and their agents will need to violate Alabama law.

      138.   If a federal contractor does not or cannot comply with these

requirements, the government-contracting funds on which the contractor relies will

be jeopardized.




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      139.   The sums of money Alabama would lose if it were not to comply with

the Contractor Mandate are staggering. And the coercive nature of potentially

losing these sums is magnified by the fact that the federal government’s demands

arose only recently and leave almost no time for the state to come into compliance

or line up substitute funding.

      140.   For example, Alabama public universities stand to lose hundreds of

millions of dollars in federal contracts if they do not comply with the Contractor

Mandate.

      141.   Less than half of Alabamians ages 18 and up are fully vaccinated.

      142.   Many employees of Alabama’s public universities are unvaccinated and

would likely quit their jobs rather than receive the COVID-19 vaccine as a condition

of further employment.

      143.   Alabama and its public universities will be harmed if the universities

lose these federal contract funds, particularly on such short notice. Conversely,

Alabama and its public universities will be harmed if the universities lose

employees.

      144.   Plaintiff Alabama Department of Public Health (“ADPH”) is the state

agency primarily responsible for serving Alabamians’ public health needs. ADPH

too stands to lose funds if it does not comply with the Contractor Mandate. Yet

ADPH received as late as October 22, 2021—just one week ago—a demand for

contract modifications. The modification must be signed and returned by November




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9, 2021, and “covered contractor employees” must be “fully vaccinated” by December

8, 2021.

      145.   ADPH has over 2,600 employees. Many of these employees are

unvaccinated, and many are likely to quit their jobs if forced to receive the COVID-

19 vaccination as a condition of further employment.

      146.   Alabama and ADPH would be harmed if ADPH loses federal contract

funds it would have otherwise received were it to comply with the Contractor

Mandate. Conversely, Alabama and ADPH would be harmed if ADPH employees

quit, particularly because ADPH is already struggling to fill empty positions even

before the Contractor Mandate was issued.

      147.   Plaintiff Alabama Department of Agriculture and Industries (“ADAI”)

is a state agency responsible for serving farmers and consumers of agricultural

projects. ADAI employs several hundred people. ADAI provides expert regulatory

control over products and services, and promotes national and international

consumption of Alabama products.

      148.   ADAI has leased property to the United States Department of

Agriculture (“USDA”) continuously for the past 26 years. On October 20, 2021, a

USDA officer sent ADAI a lease amendment incorporating “the mandatory

Executive Order 14042 . . . which needs to be part of every Federal contract now.”

ADAI requested clarification on October 22, 2021, to which USDA sent the following

response:

           [I]t’s “encouraged” for the Lessors to sign, BUT if you don’t, then
      [USDA] won’t be able to do any future lease actions with you if you



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      don’t, as well as anything regarding the current lease, such as an
      extensions or expansions if needed. So we’d have to move out when the
      lease expires.

      149.   As    the   federal   government’s    correspondence   unequivocally

demonstrates—indeed, the scare quotes around “encourage” remove any doubt—if

ADAI does not comply with the Contractor Mandate, the federal government will

cancel its lease and will refuse to “do any future lease actions” with ADAI going

forward, depriving ADAI of the revenues it had relied on for its quarter-century

contracting relationship with the federal government.

      150.   Plaintiff Alabama Department of Rehabilitation Services (“ADRS”) is

the state agency primarily responsible for serving Alabamians with disabilities.

Through ADRS, Alabama offers these Alabamians state-funded services from birth

through every stage their lives.

      151.   ADRS seeks to aid legally blind vendors by administering a program

through which ADRS matches these vendors with government entities whose

buildings have vending machines. These vending agreements ensure economic

opportunities for Alabama’s blind vendors.

      152.   To facilitate its blind-vendor program, Alabama has contracted with

the federal government since 1946, when ADRS established the Alabama Business

Enterprise Program for the Blind and Visually Impaired (“BEP”) with the mission

to enable qualified blind individuals to achieve independence through self-

employment. Since that time, the BEP program has had contracts with the federal

government regarding services on federal properties.




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       153.   The BEP operates under perpetual permits at GSA and other

properties and under contracts, generally 5-year terms, at federal dining hall

facilities.

       154.   If the BEP were to lose its permit and contract operations with the

federal government, two-thirds of the BEP’s blind vendors would lose all or part of

their income and livelihood. Moreover, this loss of operations funds would likely

require ADRS to use other funds to support the BEP, negatively impacting ADRS’s

non-BEP programs and consumers.

       155.   What is more, ADRS also facilitates dining-hall related services in

which its federal contractors have realized significant profits. Ten percent of the net

proceeds realized from these contracts are used for maintenance and replacement of

equipment (e.g., vending machines), purchase of new equipment, and management

services. See Ala. Admin. Code 795-7-7. Without these funds, ADRS will have to

deploy additional resources to maintain and replace its equipment, negatively

impacting other programs within the agency’s mandate.

       156.   ADRS received a permit-modifications request from GSA on October

12, 2021, and the Department of Homeland Security issued a contract modification

for the ADRS contract with FEMA on October 14, 2021.

Impact of the Contractor Mandate on the State of Idaho and Its Agencies

       157.   The State of Idaho includes agencies and entities affected by the

Contractor Mandate.




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      158.   Idaho’s institutions of higher learning maintain covered contracts with

numerous federal agencies, including, but not limited to, NSF, NASA, HHS, DOE,

and DOD sub-entities.

      159.   Additionally, other Idaho agencies maintain contracts with the federal

government and will be impacted by the Contractor Mandate. Federal officials are

beginning to pressure these Idaho agencies to adopt the Contractor Mandate not

only for future contracts, but for existing contracts. For example, on October 22,

2021, CDC sent an email to the Idaho Department of Health and Welfare

instructing it to execute a mandatory contract modification for the purpose of

adding language implementing the Contractor Mandate in an existing contract. The

email stated: “Contractors will sign and return the modification via email to the

Contracting Officer of record by November 9, 2021.”

      160.   Thousands of Idaho employees will be affected by the Contractor

Mandate.

      161.   The agencies and institutions have worked throughout the pandemic,

in consultation and collaboration with other government entities and officials, to

develop plans to stop the spread of COVID-19.

      162.   On information and belief, there are Idaho employees that have

indicated that they will not be vaccinated. Due to policies regarding termination of

some employees, if termination is necessary to comply with the Contractor

Mandate, the termination process will take months to complete, and some

employees will draw a salary during a portion of the process




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Impact of the Contractor Mandate on the State of Kansas and Its Agencies

      163.   The State of Kansas has multiple contracts with various federal

agencies. These contracts are “covered contracts” under the Contractor Mandate.

      164.   Kansas’s budget is highly dependent upon federal dollars it receives

under its federal contracts.

      165.   Kansas employs hundreds of “covered contractor employees” and

multiple “contractor or subcontractor workplace locations” as those terms are used

in the Contractor Mandate

      166.   The Contractor Mandate requires hundreds of Kansas employees to get

vaccinated. For the same and similar reasons articulated throughout this

Complaint, imposing the Contractor Mandate against Kansas will result in

significant and irreparable harm to Kansas.

      167.   In addition, the State of Kansas will suffer irreparable harm in its

parens patriae capacity based on application of the Contractor Mandate to private

citizens employed by federal contractors who stand to lose their jobs if they choose

not to receive the vaccine.

Impact of the Contractor Mandate on the State of South Carolina and Its
Agencies

      168.   The State of South Carolina has multiple contracts with various

federal agencies.   These contracts are “covered contracts” under the Contractor

Mandate.

      169.   South Carolina’s budget relies on the federal dollars it receives under

its federal contracts.



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      170.   South Carolina employs hundreds of “covered contractor employees”

and multiple “contractor or subcontractor workplace locations” as those terms are

used in the Contractor Mandate

      171.   The Contractor Mandate will require hundreds of South Carolina

employees to get vaccinated. For the same and similar reasons articulated

throughout this Complaint, imposing the Contractor Mandate against South

Carolina will result in significant and irreparable harm to South Carolina.

Impact of the Contractor Mandate on the State of Utah and Its Agencies

      172.   Plaintiff State of Utah is a sovereign State that has many state entities

that are federal contractors. Utah employs “covered contractor employees” and

maintains “covered contractor workplaces” as defined by the Contractor Mandate.

      173.   The contracts that Utah’s agencies have with federal agencies are

worth millions of dollars, if not more. Many of Utah’s current contracts are subject

to renewal or the exercise of options. The federal government has presented Utah

with contract modifications that incorporate the Contractor Mandate. Utah will face

substantial and irreparable harm if forced to comply.

      174.   Because Utah’s employees are generally not required to be vaccinated,

the Contractor Mandate places undue pressure on Utah to create new policies and

change existing ones, which threatens Utah with imminent irreparable harm.

      175.   The Contractor Mandate will likely cause many Utah employees to

resign, causing significant loss to Utah’s operations by decreasing institutional

knowledge and human capital. As a result, Utah will incur significant recruitment,

on-boarding, and training costs to replace lost employees.


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Impact of the Contractor Mandate on the State of West Virginia and Its
Agencies

      176.   The State of West Virginia has multiple contracts with various federal

agencies. These contracts are “covered contracts” under the Contractor Mandate.

      177.   West Virginia’s budget relies on the federal dollars it receives under its

federal contracts.

      178.   West Virginia employs hundreds of “covered contractor employees” and

multiple “contractor or subcontractor workplace locations” as those terms are used

in the Contractor Mandate.

      179.   The Contractor Mandate will require hundreds of West Virginia

employees to get vaccinated. For the same and similar reasons articulated

throughout this Complaint, imposing the Contractor Mandate against West

Virginia will result in significant and irreparable harm to West Virginia.

The Contractor Mandate Creates Confusion and Uncertainty

      180.   In response to the Contractor Mandate, Plaintiffs have scrambled to

comply.

      181.   In particular, the Georgia Tech has already expended a vast amount of

time and financial resources to create a portal for its employees to submit their

vaccination status.

      182.   In addition to their specific challenges, all impacted units of the

University System will have to overcome the following hurdles in order to comply:

             a.       Track employee vaccination statuses;

             b.       Develop a robust process to review requests for accommodation;



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             c.     Identify impacted employees and locations;

             d.     Spend an undetermined amount of money to fund its compliance

      program; and

             e.     Track data from subcontractors to ensure that they are likewise

      performing (a), (b), (c), and (d) above.

      183.   Upon information and belief, some covered contractor employees will

not obtain the vaccine and will not seek an exemption, despite the Contractor

Mandate and its allowance for narrowly prescribed exemptions for medical reasons

or strongly held religious beliefs.

      184.   For context, nearly 50% of Georgians are fully vaccinated while the

remaining 50% have yet to obtain one or oppose the vaccine altogether.14

      185.   With respect to employees who refuse vaccination, the Georgia

universities will have no choice but to consider enforcement action up to and

including potential termination, lest they lose billions in federal funding.

      186.   With national labor shortages crippling the current labor market,

losing employees because of the Contractor Mandate will cause significant harm to

the University System.

      187.   Equally important, the loss of employees will jeopardize the

universities’ ability to complete the contracted for work in the contracted for time,

thereby materially undermining the very efficiency and economy in contracting that



14 Georgia Department of Public Health, Press Release, 50% of Georgians Fully
Vaccinated Against COVID-19 (Oct. 25, 2021), https://dph.georgia.gov/press-
releases/2021-10-25/50-georgians-fully-vaccinated-against-covid-19.

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purportedly is the core rationale for implementing the Contractor Mandate in the

first place.

       188.    The broad application of the Contractor Mandate is expected to

substantially impact each Plaintiff in that any of their unvaccinated employees

must be terminated or reallocated to uncovered workplaces lest they risk breaching

their federal contracts by failing to fully comply with the Contractor Mandate.

       189.    The Contractor Mandate, therefore, forces Plaintiffs to choose between

two equally problematic outcomes: (1) maintain a fully vaccinated (but reduced)

workforce of covered employees by firing those who are unvaccinated and risk

breaching the contracts by not satisfactorily performing due to lack of qualified

workers; or (2) breach the contract by continuing to employ unvaccinated, covered

employees so that they can timely perform and complete the contract requirements.

Either way, Plaintiffs face a risk of breach and material noncompliance for reasons

totally beyond their control.

                   COUNT I – Violation of the Procurement Act

                          (Under 40 U.S.C. §§ 101 and 121)

       190. Plaintiffs incorporate each of the Complaint allegations stated above

herein.

       191. The purpose of the Procurement Act is to provide the Federal

Government with an “economical and efficient system” for, among other things,

procuring and supplying property and nonpersonal services. 40 U.S.C. § 101. The

Contractor Mandate, however, will actually and materially undermine the efficient




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and economical delivery of property and services by disrupting the continuity of the

contractor workforce.

      192. The purpose of the Procurement Act is not to impose a sweeping

vaccination mandate on broad swaths of the American people or to use the federal

procurement system as a proxy for implementing a nationwide public health

mandate.

      193. The Procurement Act empowers the President to “prescribe policies and

directives that [he] considers necessary to carry out [the Procurement Act.]” 40

U.S.C. § 121(a). Those policies “must be consistent with” the Procurement Act’s

purpose, i.e., promoting economy and efficiency in federal contracting. Id. § 121(a)

(emphasis added).

      194. Defendants have failed to demonstrate a “nexus” between the

Contractor Mandate (EO 14042, the OMB Determination, the Task Force Guidance,

and the FAR Deviation Clause) and the Procurement Act’s purpose of promoting an

“economical and efficient system” for federal contracting. 40 U.S.C. § 101; see Am.

Fed’n of Lab. & Cong. of Indus. Organizations v. Kahn, 618 F.2d 784, 793 (D.C. Cir.

1979) (explaining that the Procurement Act is violated when the President does not

demonstrate a “nexus” between executive action and the Procurement Act’s policy).

The Procurement Act’s text obligates the President to exercise his statutory

authority “consistently with [the Act’s] structure and purposes.” Id.




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      195. Instead, EO 14042 exceeds the President’s Procurement Act authority

by directing the Task Force, without a demonstrable nexus to the Procurement Act’s

purpose, to prescribe a sweeping public health scheme.

      196. Here, the text of the Procurement Act clearly demonstrates that

Congress has not authorized the Contractor Mandate, and thus, EO 14042 violates

the Procurement Act.

      197. Further, before the executive branch may regulate a major policy

question of “great and economic and political significance”—such as mandating

vaccination for every employee of every federal contractor in the country—Congress

must “speak clearly” to assign the authority to implement such a policy. Ala. Ass’n

of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (citing

Util. Air Regul. Grp. v. E.P.A., 573 U.S. 302, 324 (2014)).

      198. When the federal government intrudes on a traditional state function, it

must clearly articulate the scope of the intrusion and the rationale behind its

unprecedented action, which it has not done here. Gregory v. Ashcroft, 501 U.S. 452,

463–64 (1991).

      199. The Contractor Mandate implicates critical issues of federalism as

public health and the regulation of inoculation regimes are traditional state

functions.

      200. Because the statutory language that the President relies on to issue EO

14042 does not contain a clear statement affirmatively sanctioning the broad scope

of the Contractor Mandate, EO 14042 violates the Procurement Act.




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      201. Therefore, under both the plain text of the Procurement Act and the

clear statement principle, EO 14042 is unlawful, and thus the Contractor Mandate

is unenforceable.

             COUNT II – Violation of Federal Procurement Policy

                            (Under 41 U.S.C. § 1707(a))

      202.   Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      203.   Pursuant to 41 U.S.C. § 1707(a)(1), a procurement policy may not take

effect until 60 days after it is published for public comment in the Federal Register

if it relates to the expenditure of appropriated funds; and has a significant effect

beyond the internal operating procedures of the issuing agency; or has a significant

cost or administrative impact on contractors or offerors.

      204.   The    Contractor   Mandate    will   require   contractors   to   develop,

implement, and monitor a host of new policies and procedures impacting, for some

contractors, their entire workforce. In order to fully comply with the Contractor

Mandate, contractors will have to fire any covered employee who refuses to be

vaccinated and has not asserted an exemption.

      205.   Federal agencies will have to budget for and expend appropriated

funds to administratively implement the Contractor Mandate and, thereafter,

compensate contractors for their increased cost of compliance in violation of §

1707(a).




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      206.    Because the Contractor Mandate requires vaccination of hundreds of

thousands of Americans, it certainly has “a significant effect beyond internal

operating procedures” in violation of § 1707(a).

      207.    The Contractor Mandate also has a significant cost or administrative

impact on current contractors, future contractors, and offerors in violation of

§ 1707(a).

      208.    Despite being required to be published for public comment in the

Federal Register, Defendants failed to publish the Task Force Guidance containing

the Contractor Mandate in the Federal Register as required by 41 U.S.C. §

1707(a)(1).

      209.    Moreover, Defendants failed to provide the required 60-day comment

period before the Task Force Guidance and Contractor Mandate became effective.

      210.    Further, the requirements of 41 U.S.C. § 1707(a) were never waived

with regard to the Task Force Guidance and Contractor Mandate.

      211.    Accordingly, Defendants failed to comply with 41 U.S.C. § 1707(a)

when issuing the OMB Determination and the Task Force Guidance, making the

Contractor Mandate invalid as a matter of law.

                        COUNT III – Nondelegation Claim

              (Article I, Section 1 of the United States Constitution)

      212.    Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      213.    Pursuant to Article I, Section 1 of the United States Constitution,

Congress is vested with all legislative powers.

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      214.   “Congress is not permitted to abdicate or to transfer to others the

essential legislative functions with which it is thus vested.” A.L.A. Schechter Poultry

Corp. v. United States, 295 U.S. 495, 529–30 (1935).

      215.   The executive branch can only exercise its own discrete powers

reserved by Article II of the United States Constitution and such power that

Congress clearly authorizes through statutory command.

      216.   Congress gives such authorization when it articulates an intelligible

principle to guide the Executive that not only sanctions but also defines and cabins

the delegated legislative power.

      217.   Under the nondelegation doctrine, Congress cannot simply offer a

general policy that is untethered to a delegation of legislative power. For a

delegation to be proper, Congress must articulate a clear principle or directive of its

congressional will within the legislative act. See J.W. Hampton, Jr., & Co. v. United

States, 276 U.S. 394, 409 (1928). The principle must be binding, and the delegate

must be “directed to conform” to it. Id.

      218.   The nondelegation doctrine preserves and protects important tenets of

our democracy, including individual liberties and states’ rights.

      219.   The President’s direct delegation of authority to the OMB Director and

the Task Force gives them unconstitutional and unconstrained rulemaking

authority without a statutory directive.

      220.   Separately, the President’s indirect delegation to the federal agencies

of broad authority and discretion to enforce the already unconstitutional Contractor




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Mandate is unsupported by an explicit statutory directive within the Procurement

Act or any other federal law.

      221.   Thus, the President’s actions lack the requisite congressional direction

in two regards:

      a.     First, Congress did not articulate clear or sufficient instructions in the

Procurement Act directing the President to implement this public health policy

scheme by executive order.

      b.     Second, even if Congress did clearly authorize a national vaccination

schedule for federal contractors, it did not give sufficiently clear instructions to

permit the President to delegate legislative judgment to the Task Force or the OMB

Director.

      222.   EO 14042’s reliance on the precatory statement of purpose in the

Procurement Act is not a clear directive, and neither the President nor the federal

agencies can rely on it to impose an intrusive and sweeping vaccine mandate.

      223.   Further, any delegation sanctioning broad and intrusive executive

action cannot be sustained without clear and meaningful legislative guidance,

especially given the important separation-of-powers and federalism concerns

implicated. Under the nondelegation doctrine, the Contractor Mandate is

unconstitutional because Congress did not articulate a clear principle by legislative

act that directs the Executive to take sweeping action that infringes on state and

individual rights.




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      224.    Here, the Executive Order cuts deeply into the state’s sphere of power

without articulating the underlying reasons or providing a justification beyond a

superficial, unsupported, and pretextual reference to efficiency and economy in

federal contracts.

      225.    Without   explicit   congressional    authorization,   the   President’s

delegation of power in EO 14042 through the OMB Determination, the Task Force,

and the various executive agencies acting to implement the Contractor Mandate

cannot survive constitutional scrutiny.

       COUNT IV – Violation of Separation of Powers and Federalism

(Article I, Section 8 of and Amendment X to the United States Constitution)

      226.    Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      227.    To the extent Defendants argue that the Contractor Mandate is

authorized, such authorization would violate the Constitution’s nondelegation

principles.

      228.    The Contractor Mandate exceeds congressional authority.

      229.    Pursuant to Article I, Section 1 of the United States Constitution,

Congress is vested with all legislative powers, but Congress must act pursuant to

the enumerated powers granted to it by Article I.

      230.    Pursuant to Article I, Section 8 of the United States Constitution,

Congress has authority “to make all Laws which shall be necessary and proper for

carrying into Execution” its general powers (“the Necessary and Proper Clause”).

The Necessary and Proper Clause does not “license the exercise of any ‘great


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substantive and independent power[s]’ beyond those specifically enumerated.” Nat’l

Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 559 (2012) (citation omitted).

      231.   Pursuant to the Tenth Amendment of the United States Constitution,

“the powers not delegated by the Constitution to the United States, nor prohibited

by it to the States, are reserved to the States respectively, or to the people.” U.S.

Const. amend. X.

      232.   Nothing in the Constitution authorizes the federal agencies of the

executive branch to impose the Contractor Mandate on states because requiring

vaccinations for state employees is an exercise of the police power left to the states

under the Tenth Amendment.

      233.   The Constitution does not empower Congress to require anyone who

deals with the federal government to get vaccinated. It is not a “proper” exercise of

Congress’s authority to mandate that every employee who touches a federal

contract or comes in contact with another employee who touches such a contract,

has to be vaccinated because the action here falls outside the scope of an Article I

enumerated power.

      234.   Defendants, through the Contractor Mandate, have exercised power

that Congress does not possess under the Constitution and, therefore, cannot

delegate to other branches of the federal government.

      235.   If Congress intended the Procurement Act to authorize what the

President claims, the Act exceeds Congress’s authority, and thus Defendants must

be enjoined from taking any action under the Act.




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                COUNT V – Violation of the Tenth Amendment

          (Under Amendment X to the United States Constitution)

      236.   Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      237.   Pursuant to the Tenth Amendment of the United States Constitution,

“the powers not delegated by the Constitution to the United States, nor prohibited

by it to the States, are reserved to the States respectively, or to the people.” U.S.

Const. amend. X.

      238.   Defendants, through the Contractor Mandate, have exercised power

far beyond what was delegated to the federal government by Constitutional

mandate or congressional action.

      239.   Neither Article II of the U.S. Constitution nor any act of Congress

authorizes the federal agencies of the executive branch to implement the Contractor

Mandate, which traditionally falls under the police power left to the states under

the Tenth Amendment.

      240.   The Tenth Amendment explicitly preserves the “residuary and

inviolable sovereignty,” of the states. Printz v. United States, 521 U.S. 898, 918–19

(1997) (quoting The Federalist No. 39, at 245 (J. Madison)).

      241.   By interfering with the traditional balance of power between the states

and the federal government and by acting pursuant to ultra vires federal action,

Defendants violated this “inviolable sovereignty,” and thus, the Tenth Amendment.

      242.   Therefore, the Contractor Mandate was adopted pursuant to an

unconstitutional exercise of authority by Defendants and must be invalidated.


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          COUNT VI – Unconstitutional Exercise of the Spending Clause

   (Under Article I, Section 8, Clause 1 of the United States Constitution)

      243.    Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      244.    The challenged actions are unconstitutional conditions on the states’

receipt of federal funds.

      245.    Article I, Section 8, Clause 1 of the United States Constitution gives

Congress the power to “lay and collect Taxes, Duties, Imposts, and Excises, to pay

the Debts and provide for the common Defence and the general Welfare of the

United States.”

      246.    While “Congress may attach appropriate conditions to . . . spending

programs to preserve its control over the use of federal funds,” it cannot wield

federal funding to unreasonably constrain state autonomy. Nat’l Fed’n of Indep.

Bus. v. Sebelius, 567 U.S. 519, 579 (2012). “[I]n some circumstances the financial

inducement offered by Congress might be so coercive as to pass the point at which

‘pressure turns into compulsion.’” South Dakota v. Dole, 483 U.S. 203, 211 (1987).

      247.    Federal contracts are an exercise of the Spending Clause, yet the

challenged actions ask Plaintiffs to agree to a coercive contract term.

      248.    The federal contracts at issue here account for considerable portions of

Plaintiffs’ budgets for essential research, education, and other necessary programs.

The pressure on Plaintiffs to comply with the Contractor Mandate rises to the level

of coercion. The challenged actions are invalid for that reason alone.




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                        COUNT VII – Violation of the APA

                               (Under 5 U.S.C. § 706)

      249.   Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      250.   Pursuant to 5 U.S.C. § 553, agencies must publish “a notice of proposed

rulemaking in the Federal Register before promulgating a rule that has legal force.”

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S.Ct. 2367,

2384 (2020); 5 U.S.C. § 553(b).

      251.   Pursuant to 48 C.F.R. 1.501, “significant revisions” to the FAR must be

made through notice-and-comment procedures. DOD, NASA, and the General

Services Administration must jointly conduct the notice-and-comment process. Id.

      252.   Instead of amending the FAR to implement this significant revision,

the FAR Council issued a purported “class deviation” without engaging in the

notice-and-comment process. See 5 U.S.C. § 553.

      253.   Proper “class deviations” must fit within one of the discrete definitions

set forth in 48 C.F.R 1.401.

      254.   Here, however, the FAR Deviation Clause fits none of the definitions.

      255.   Instead, the FAR Deviation Clause is in the nature of a rule within the

meaning of the APA because it is “an agency statement of general or particular

applicability and future effect designed to implement, interpret, or prescribe law or

policy.” 5 U.S.C. § 551(4).

      256.   The FAR Council violated the APA by failing to comply with the notice-

and-comment requirements for rulemaking.


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         257.   Good cause does not excuse the FAR Council’s failure to comply with

the notice-and-comment process. See 5 U.S.C. § 553(b)(3)(B).

                         COUNT VIII – Violation of the APA

                                (Under 5 U.S.C. § 706)

         258.   Plaintiffs incorporate each of the Complaint allegations stated above

herein.

         259.   Under the APA, a court must “hold unlawful and set aside agency

action” that is “not in accordance with law” or “in excess of statutory . . . authority,

or limitations, or short of statutory right.” See 5 U.S.C. § 706(2)(A), (C).

         260.   The OMB Determination adopting the Task Force guidance is contrary

to law for at least four reasons.

         261.   First, the OMB Determination violates 41 U.S.C. § 1303(a) because it

is a government-wide procurement regulation, which only the FAR Council may

issue.

         262.   EO 14042 apparently seeks to circumvent § 1303 by delegating the

President’s Procurement Act power to the OMB Director.

         263.   That attempt is unlawful because the President has no authority to

issue regulations under § 1303—only the FAR Council may issue government-wide

procurement regulations. See Centralizing Border Control Policy Under the

Supervision of the Attorney General, 26 Op. OLC 22, 23 (2002) (“Congress may

prescribe that a particular executive function may be performed only by a

designated official within the Executive Branch, and not by the President.”).




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      264.   Second, and relatedly, the OMB rule is contrary to law because the

Procurement Act does not grant the President the power to issue orders with the

force or effect of law. Congress authorized the President to “prescribe policies and

directives that the President considers necessary to carry out.” 40 U.S.C. § 121(a).

      265.   “[P]olicies and directives” describe the President’s power to direct the

exercise of procurement authority throughout the government. It does not authorize

the President to issue regulations himself.

      266.   Congress knows how to confer that power, as it authorized the GSA

Administrator, in the same section of the statute, to “prescribe regulations.” Id. §

121(c); see also Sosa v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004) (“[W]hen the

legislature uses certain language in one part of the statute and different language

in another, the court assumes different meanings were intended.”).

      267.   And Congress has given the President the power to “prescribe

regulations” in other contexts, typically in the realm of foreign affairs and national

defense. See, e.g., 18 U.S.C. § 3496 (“The President is authorized to prescribe

regulations governing the manner of executing and returning commissions by

consular officers.”); 32 U.S.C. § 110 (“The President shall prescribe regulations, and

issue orders, necessary to organize, discipline, and govern the National Guard.”).

      268.   Third, even if the Procurement Act authorized the President to issue

orders with the force or effect of law, it would not authorize approval of the Task

Force guidance. The President appears to assume that the Procurement Act’s

prefatory statement of purpose authorizes him to issue any order that he believes




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promotes “an economical and efficient” procurement system. 40 U.S.C. § 101; see

Ex. A at 1 (“This order promotes economy and efficiency in [f]ederal procurement.”).

In doing so, the President mistakenly construes the prefatory purpose statement for

a grant of authority. D.C. v. Heller, 554 U.S. 570, 578 (2008) (“[A]part from [a]

clarifying function, a prefatory clause does not limit or expand the scope of the

operative clause.”).

      269.   And even if the Procurement Act did authorize the President to issue

binding procurement orders solely because they may promote economy and

efficiency, the OMB Determination does not adequately do so. Providing the federal

government with an “economical and efficient system for” procurement is not a

broad enough delegation to impose a national-scale vaccine mandate that Congress

has not separately authorized.

      270.   Further, the executive order is divorced from the practical needs of

procurement. In order to maintain a steady and predictable flow of goods and

services—and the advancement of science and technology through research and

development—the federal procurement system requires a stable and reliable

workforce to timely perform work required under tens of thousands of federal

contracts and funding agreements. The Contractor Mandate disrupts the stability

and reliability of the contractor workforce by forcing contractors to potentially fire

unvaccinated and non-exempt covered employees, many of whom are highly skilled

and essential to the work.




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      271.   Because the OMB Determination violates § 1303(a), seeks to exercise a

delegated power the President does not possess, and relies on a misreading of the

Procurement Act, it is contrary to law.

                        COUNT IX – Violation of the APA

                                (Under 5 U.S.C. § 706)

      272.   Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      273.   Pursuant to the Administrative Procedure Act, agency action that is

“arbitrary [or] capricious” is unlawful and must be set as aside by a court of

competent jurisdiction. 5 U.S.C. § 706(2)(A).

      274.   Pursuant to 48 C.F.R. 1.402, “[u]nless precluded by law, executive

order, or regulation, deviations from the FAR may be granted [] when necessary to

meet the specific needs and requirements of each agency.”

      275.   The   Contractor    Mandate       and   the   OMB   Determination   were

implemented with no express findings, no explanation, and no consideration of the

distinct and diverse universe of federal agencies.

      276.   The Contractor Mandate and the OMB Determination impose

universal and uniform requirements without regard to the particularized needs and

circumstances of each federal agency and are therefore arbitrary and capricious in

violation of the APA.

                        COUNT X - Declaratory Judgment

                            (Under 28 U.S.C. § 2201(a))




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      277.    Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      278.    For all the forgoing reasons, Plaintiffs request that the Court declare

the Contractor Mandate unlawful, unconstitutional, and unenforceable.

                          COUNT XI –Injunctive Relief

      279. Plaintiffs incorporate each of the Complaint allegations stated above

herein.

      280. The Contractor Mandate threatens immediate and irreparable harm to

Plaintiffs, including a loss of highly trained employees, difficulty in completing

existing contracts, and significant expenditure of time and resources in ensuring

compliance.

      281. Monetary damages or other remedies at law cannot adequately address

the injury caused by the Contractor Mandate.

      282. The deadlines imposed in the Contractor Mandate will have widespread

and permanent effects that no legal remedy can reverse, such that the only

available remedy to redress the harms is injunctive relief.

      283. Balancing the hardships to Plaintiffs relative to the hardships to

Defendants, extraordinary equitable relief is warranted.

      284. Specifically, absent an injunction, Plaintiffs’ operations will be

jeopardized as a result of Defendants’ adoption and implementation of the

unconstitutional, illegal, and logistically unworkable Contractor Mandate.




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      285. On the other hand, the hardship of an injunction to Defendants is

minimal; they simply must abide by the Constitution and the laws of the United

States.

      286. Permanent injunctive relief would not disserve the public interest,

because it would enjoin unconstitutional and illegal executive action.

                                 Prayer for Relief

      Wherefore, Plaintiffs respectfully request that this Court:

      1.     Enter judgment in favor of Plaintiffs and against Defendants on all

Counts asserted herein.

      2.     Enter a declaratory judgment that Defendants, individually and

collectively, have acted to impose a broad-sweeping, unlawful, and unconstitutional

COVID-19 vaccine mandate, and that such COVID-19 vaccine mandate is unlawful

and unenforceable.

      3.     Grant a temporary, preliminary, and permanent injunction prohibiting

Defendants and those acting in concert with them from enforcing this broad-

sweeping, unlawful, and unconstitutional mandate.

      4.     Grant any additional and different relief to which Plaintiffs may be

entitled.

      5.     Award Plaintiffs costs of litigation, including reasonable attorneys

fees, as allowable by law.




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      Respectfully submitted this 29th day of October, 2021.




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